                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF
                                     OKLAHOMA


  UNITED STATES OF AMERICA,

         Plaintiff,
                        v.
                                                           Case No. 6:20-cv-00423-JFH
  JEFFREY LOWE,

  LAUREN LOWE,

  GREATER WYNNEWOOD EXOTIC ANIMAL
  PARK, LLC, and

  TIGER KING, LLC,

         Defendants.



  UNITED STATES’ NOTICE OF DEFENDANTS’ CONTINUED NONCOMPLIANCE

       At the May 12, 2021 show cause hearing and in the Court’s subsequent order, Dkt. 97,

the Court found Defendants in civil contempt for failing to comply with the Court’s previous

orders and imposed sanctions. The Court stated that it would consider further sanctions if

Defendants were not fully compliant with the Court’s January 15, 2021 and March 22, 2021

orders by June 11, 2021. Dkt. 97 at 8. At the show cause hearing, the Court invited the United

States to file a notice informing the Court if Defendants did not come into compliance by June

11, 2021.

       Not only have Defendants failed to cure the deficiencies identified by the United States in

the motion to enforce and subsequent notices of noncompliance, but they have added additional

violations of the Court’s orders. Dkt. 72, 83, 93. Specifically, Defendants continue to violate the

Court’s orders by: (1) not retaining any attending veterinarian, let alone a qualified veterinarian

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with whom they must prepare a legally sufficient written program of veterinary care consistent

with the Animal Welfare Act (“AWA”) regulations; (2) continuing to ignore their obligation to

confer with the United States and obtain leave of Court before acquiring or disposing of animals;

and (3) failing to produce complete and accurate acquisition or disposition records and veterinary

records by the Court-ordered deadlines.

   Given that Defendants seem unfazed by the Court’s contempt finding and the existing

sanctions, the United States believes additional sanctions are necessary to ensure Defendants

come into compliance with the Court’s orders. Such sanctions are particularly important in this

case where Defendants’ continued defiance of the Court’s orders puts the animals in their care in

danger.

   I.        Defendants continue to Ignore, Defy, and Violate the Court’s Orders.

             A. Defendants have not retained a qualified attending veterinarian under
                formal arrangements.

          One of the most alarming updates since the Court’s May 12, 2021 hearing is the

withdrawal of Defendants’ former veterinarian and Defendants’ apparent failure to secure a

replacement. During the May 12, 2021 show cause hearing, the United States shared with the

Court and the Lowes a communication from the Lowes’ veterinarian in which she indicated that

she was going to give notice and cease working with them by the end of May. Exhibit (“Exh.”) 6

(Partial Transcript for May 12, 2021 Show Cause Hearing) at 26:8-25. On May 26, 2021, the

Defendants’ former veterinarian informed the U.S. Department of Agriculture’s (“USDA”)

Animal and Plant Health Inspection Service (“APHIS”) that she no longer worked for

Defendants and had stopped all communications with them. See Dkt. 100-9. During the June 2,

2021 APHIS inspection of Tiger King Park, Defendant Lauren Lowe initially claimed that they

were still working with Dr. Fryer. When the APHIS inspectors noted that Dr. Fryer had informed

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USDA that she was no longer working with the Lowes, Lauren Lowe then admitted that they had

no qualified attending veterinarian. See Exh. 1 (Decl. Dr. Cynthia Digesualdo) ¶ 3.

       To date, Defendants have not informed the United States that they have obtained a new

attending veterinarian, let alone one that meets the requirements of the AWA regulations, 9

C.F.R. §§ 1.1, 2.40. Defendants’ former program of veterinary care was legally deficient, as the

Court found in its March 22, 2021 order, see Dkt. 78 at 8-9, and now is obsolete because the plan

was with a veterinarian who is no longer providing services at the Thackerville facility. Thus,

Defendants continue to defy the Court’s January 15, 2021 order requiring them to “retain a

qualified attending veterinarian under formal arrangements consistent with the requirements of 9

C.F.R. §§ 1.1, 2.40” and have a program of veterinary care consistent with the regulations. Dkt.

65 at 33.

       Having no attending veterinarian puts the animals at the Thackerville facility at risk of

avoidable suffering, injury, and death, defies court orders, and violates the AWA. For example,

at the May 12, 2021, hearing, counsel for United States brought to the attention of the Court

reports that a red fox at the Thackerville facility was suffering and that the Lowe’s former

veterinarian had inquired about the legal steps that needed to be taken to humanely euthanize the

animal. In a May 14, 2021 order, the Court approved the humane euthanasia of the red fox as the

parties may stipulate. Dkt. 96. Despite the efforts of the United States and the Court to facilitate

the humane treatment of this animal, Defendants have taken no steps to reach a stipulation. Nor

have they provided any veterinary records that demonstrate that the animal is receiving adequate

care. Instead, the Lowes have unilaterally decided to simply watch the animal die.

       On June 2, 2021, APHIS inspected the Thackerville facility. See Exh. 2 (June 9, 2021

Inspection Report). The inspection report indicates that the veterinarian’s recommendations for



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the fox dated February 20, 2021, had not been followed and that the May 1, 2021 daily record for

the animal states that Defendants plan to “allow him to pass away peacefully when it’s his time.”

Id. at 3. Further, that record describes his condition as “possible cancer is now getting to him.”

Exh. 3 (records produced by Lauren Lowe at June 9, 2021 inspection) at 2. The inspection report

also notes that the red fox “continues to receive no veterinary care” for its known chronic

medical conditions. Exh. 2 at 3. Defendants’ failure to retain an attending veterinarian means no

qualified individual is available to treat this animal, monitor the extent of his suffering, or

perform a humane euthanasia. See Exh. 1 ¶ 7.

       The June 2, 2021 APHIS inspection revealed several other animals in need of veterinary

care, including a ferret, a raccoon, a bush baby, and two bobcats. Exh. 2 at 2-4. Lauren Lowe

presented a record for the bush baby, which stated that the animal has a “bed sore on his right

side and rash above left eye. Applying Vaseline every other day. Will continue to monitor.” Exh.

3 at 3. It also noted a decrease in the animal’s energy level. Id. Notably the record is dated May

27, a day after Dr. Fryer told USDA that she no longer worked for the Lowes. Dkt. 100-9. Dr.

Fryer told USDA that she had never been informed that the bush baby had any medical issues or

asked to examine it. Exh. 2 at 3. Either the record is based on the Lowes’ unqualified assessment

of the medical needs of their animals or they consulted with another veterinarian but failed to

comply with the Court’s order to provide “complete and accurate veterinary records to counsel

for the United States within 7 days of any animal being treated by a veterinarian.” Dkt. 65 at 34.

       USDA observed a ferret with swelling that encompassed the entire width of the animal’s

neck. Exh. 2 at 2. Although the Lowes had noticed the swelling at least on June 1, 2021, they had

not contacted a veterinarian. Id. More than two weeks later, the United States has not received

any veterinary records for the animal. A raccoon was “lethargic with an overall unthrifty



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appearance.” Id. The animal also “seemed to be isolating himself from the other animals which is

not normal” for raccoons. Id. at 2-3. The APHIS inspectors also observed hair loss on a female

bobcat. Id. at 3. The hair loss on the sides of the animal’s neck were present on May 17 and 18,

2021. Id. As of the June 2, 2021 inspection, the hair loss had spread to one of the ears. Id. A male

bobcat “appeared thin and lethargic. He has noticeably lost weight since he was observed on

May 18, 2021.” Id. at 4. The Lowes presented no documentation that indicated that they had

consulted with a veterinarian about either animal’s condition. Id.

       The inspection also revealed a lack of appropriate food at the facility, signs that animals

were not receiving adequate food and water, and no environmental enhancement plan for

nonhuman primates approved by an attending veterinarian. Id. at 5-6. In the case of the

macaques, the APHIS inspectors observed dog kibble contaminated with many flies in their food

receptacle and old produce covered in flies in their outside yards. Id. “Dog food is not an

appropriate diet for nonhuman primates.” Id. at 5. The inspectors also noted the “progressively

decreasing body conditions” of the bobcats, wolves, foxes, and Canada lynx. Id. at 8. These

observations reveal that animals at the Thackerville facility are in need of veterinary care and

routine visits from an attending veterinarian to ensure that they do not needlessly suffer.

           B. Defendants continue to obtain and dispose of animals without conferring
              with the United States or seeking leave of Court.

       Defendants continue to violate the Court’s orders requiring them to confer with the

United States and seek leave of the Court before acquiring or disposing of any animals protected

under the Endangered Species Act (“ESA”) or AWA. See Dkt. 23 at 2; Dkt. 65 at 34; Dkt. 78 at

10. Acquisition and disposition includes any births and deaths as well as transfers of animals

to/from other facilities. See Dkt. 78 at 10; 9 C.F.R. § 2.75(b)(1). Since the May 12, 2021 show

cause hearing, the United States has learned of several additional births and dispositions of

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animals subject to the Court’s orders. On May 20, 2021, one of the Big Cats seized by the United

States on May 6, 2021, gave birth to three cubs. See Dkt. 100-8. Based on a Big Cat’s average

gestational period of 109 days, this animal was bred by the Lowes around February 2021,

without conferring with the United States or obtaining leave of Court. See United States v. 21619

Jimbo Road, 21469 Jimbo Road, 21371 Jimbo Road, Thackerville, Oklahoma 73459, 6:21-mj-

00218-SPS, Dkt. 1, Attachment A (Aff. of Dr. Laurie Gage) ¶ 59.

       The June 2, 2021 inspection also revealed two new baby raccoons and identified a total of

nine animals previously listed on the Lowe’s inventories that were missing. See Exh. 2 at 4.

Regarding the nine missing animals, Lauren Lowe implied that four raccoons had escaped and

stated that three sheep, a goat, and an alpaca were given or sold to a local farmer. Id. 1 All of

these animals were listed on the December 16, 2020 inventory prepared by Defendants and

provided to the United States and are covered by the AWA. Dkt. 28-35 (Exh. DD) at 13, 18.

Additionally, the goat, alpaca, and three sheep were present at the Thackerville facility on May

17 and 18, 2021. See Exh. 1 ¶ 4. Defendants’ willingness to transfer five animals, while under a

Court order to not “dispose of any animal covered by the ESA or any animal covered by the

AWA” absent leave of Court, see Dkt. 65 at 34, and after being found in contempt, demonstrates

their continued willful disregard for the Court’s orders. The inspectors also identified a female




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  The Lowes attempted to justify the transfer of the animals without a court order by claiming
that the five animals were owned by Jeff Lowe’s son, Taylor Lowe. See Exh. 5 at 3. As an initial
matter, the December 16, 2020 inventory produced by the Lowes did not identify Taylor Lowe
as the owner of any of those animals. In fact, the Lowes specifically identified Jeff Lowe as the
owner of the alpaca. Dkt. 28-35 at 13. In any event, it is irrelevant who owns the animals listed
on the December 16, 2020 inventory. The Lowes were required to confer with the United States
and seek leave of court before transferring any animals listed on that inventory. Dkt. 65 at 34
(prohibiting Defendants, “including anyone acting, directly or indirectly, through them or on
their behalf,” from disposing of any animals covered by the ESA or AWA absent a court order
(emphasis added)).
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bobcat housed with a male bobcat and suffering from patches of hair loss and exposed reddened

skin, which Lauren Lowe stated were from breeding. Exh. 2 at 3. Again, the Lowes did not

confer with the United States or obtain leave of the Court prior to the births, breeding, or

disposition of any of these animals.

           C. Defendants still have not provided counsel for the United States with
              complete acquisition and disposition records.

       Defendants still have not complied with the Court’s order requiring them to: (1) produce

acquisition and disposition records for all animals added to or missing from their inventories

since June 22, 2020; and (2) produce acquisition and disposition records within seven days of

any change to the December 16, 2020 inventory, including the birth or death of any animal. See

Dkt. 65 at 33-34.

       Following the May 12, 2021 show cause hearing, Defendants sent copies of some records

via email to counsel for the United States. See Dkt. 95. A number of the records were the same

ones that the Court already determined were deficient. See Dkt. 95-2 at 3-6, 8. Defendants also

submitted a chart listing animal births, as well as one new acquisition record. Id. In an email

response on May 19, 2021, counsel for the United States explained to counsel for Defendants

how the records were legally insufficient and incomplete. See Exh. 4 (May 19, 2021 Email

Between Counsel). Since that email, Defendants have not cured any of the identified

deficiencies. The only additional record provided by Defendants is a disposition record for the

recently transferred five animals, which was provided only after counsel for the United States

informed counsel for Defendants that those animals were missing during the June 2, 2021

inspection. Exh. 5 (disposition record for five animals from Jeff Lowe to his son, Taylor Lowe).

Setting aside that the Lowes had no authority to transfer those animals in the first place, the




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record provided fails to contain the necessary information required for transfers involving

individuals who are not licensed under the AWA. See 9 C.F.R. § 2.75(b)(1).

       In addition to the record issues previously identified in our filings, the birth chart

provided by Lauren Lowe does not meet the regulatory requirements for acquisition or

disposition records under the AWA. Moreover, the chart is missing many animals, including

offspring identified on the December 16, 2020 inventory, such as Daniel, as well as those

offspring who either died or were transferred by the Defendants or their agents and, thus, were

not identified on the December 16, 2020 inventory. 2 Finally, from the chart the United States has

now identified additional discrepancies in Defendants’ paperwork. The chart states that Wendy,

Rita and Legacy are offspring of Phenix and Stalker. Dkt. 95 at 2. However, the December 16,

2020 inventory provides that they are the offspring of Sebastian and Priscilla. Dkt. 28-35 at 15.

The chart lists Alyssa as the offspring of Simba and Unicara. Dkt. Dkt. 95 at 2. However, the

December 16, 2020 inventory states that she is the offspring of Simba and Manie. Dkt. 28-35 at

6.

       Lauren Lowe provided some explanation for other discrepancies in their records;

however, those explanations are inconsistent with the available evidence. For example, during

the June 2020 inspection, APHIS inspectors observed twelve wolves/hybrids. Dkt. 28-15 (Exh. J)

at 8. When the Lowes produced an inventory in August 2020, they likewise identified twelve

wolves/hybrids. Dkt. 28-27 (Exh. V) at 7-8. All of those animals had names. Id. Defendants

concede that eleven wolves/hybrids were transferred to Pat Craig at the beginning of October

2020. Dkt. 72-6 (Exh. EEE) at 3. On the disposition record provided, three of the eleven wolves



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 Healthy Big Cats have litters of between 2 and 7 cubs with 3-4 cubs being the average. Dkt. 72-
2 (Exh. AAA) ¶ 3. Defendants need to identify all cubs born, not just those that are on their
inventory or for whom we have documentation.
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had “no name.” Dkt. 95-2 at 12. With eleven transferred to Pat Craig in October, that should

leave one wolf/hybrid at the facility. However, during the December 15, 2020 inspection, APHIS

inspectors observed four wolves/hybrids, which were then listed on the inventory produced by

Defendants on December 16, 2020. Dkt. 28-33 (Exh. BB) at 11; Dkt. 28-35 at 8. Thus, there

were three additional wolves/hybrids at the property but no acquisition record provided.

       Regarding Lauren Lowe’s response to the record issue related to the fisher/fishing cat, the

United States agrees that a fishing cat and fisher are two different species. (See below photos of




fishing cat and fisher, respectively).

                                                      However, contrary to Lauren Lowe’s

                                                      assertions, the Lowes do not currently have in

                                                      their possession a fishing cat; they have a

                                                      fisher. Contra Dkt. 95 at 1. The report for the

                                                      June 22, 2020 inspection contained a video of

                                                      the fisher. See Dkt. 28-15 at 41 (see photo

from video above); see also Dkt. 28. If the Lowes had a fishing cat, as Lauren Lowe insists, then

they need to produce a record for the animal because APHIS inspectors have not observed this

animal at the Thackerville facility. Further, as detailed in the previous section, the United States

has recently learned that two raccoons were born, four raccoons went missing, and five animals


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listed on the December 16, 2020 inventory have been sold, but Defendants failed to submit

within seven days complete acquisition or disposition records for these animals. Their failure to

comply with this requirement calls into question whether additional changes in their inventory,

such as other potential births, have been documented and such documentation has been provided

to the United States.

         In sum, as of the date of this filing, there are still missing acquisition and disposition

records, records which do not comply with the regulatory requirements, and inaccurate

information evident due to unexplained inconsistencies between different documents.

Defendants must account for the whereabouts of their animals to come into compliance with the

Court’s orders.

   II.      Request for Relief

         Defendants have once again defied the Court’s deadline to come into compliance with its

previous orders. Because Defendants have failed to comply with the Court’s orders and have, in

fact, committed additional infractions—including disposing of animals without a court order—

the Court should consider other remedies to compel compliance, including potentially jail time.

See Exh. 6 at 14:22-23 (“The Court could imprison the defendants until they get themselves in

compliance”); Dkt. 97 at 3 (“courts have power to punish by fine or imprisonment, or both, at its

discretion, such contempt of its authority, and none other, as disobedience or resistance to its

lawful writ, process, order, rule, decree, or command”) (citing 18 U.S.C. § 401(3)) (internal

quotation marks omitted); see also United States v. Ford, 514 F.3d 1047, 1051-53 (10th Cir.

2008) (affirming the district court’s finding that imprisonment was the appropriate remedy for

defendants’ civil contempt and noting that defendant “holds the proverbial keys to the prison

doors” and that “[h]e himself can choose to end his incarceration at any point in time, simply by



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complying with the [government’s] requests”). 3 Further, the Court should order the return of the

five animals that Defendants improperly disposed of and permit the United States to file an

additional application for damages. 4

       If the Court were amenable, one option to avoid additional sanctions would be for

Defendants to voluntarily and permanently surrender the remaining animals in their possession to

the United States at which point the United States would identify proper placements for those

animals. 5 Although this would not resolve the records issue, it would address the other very

serious violations of the Court’s orders and ensure the safety of the animals currently in

Defendants’ possession. In that case, the United States would withdraw our pending application

for damages resulting from Defendants’ noncompliance.




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  Such additional sanctions are further supported by the assertions made in the motion to
withdraw filed by Defendants’ own attorney, in which Mr. Card argues that the Court should
grant his motion to withdraw, in part, because the Lowes “persist[] in a course of action
involving [his] services that [he] reasonably believes is criminal or fraudulent” and the Lowes
have “used [his] services to perpetrate a crime or fraud.” See Dkt. 102 at 1, pt. 4 (“Further, for
all reasons enumerated by Rule 1.16(b)(1)-(6), the precise nature of which cannot be divulged
upon counsel from the OBA, counsel seeks to withdraw.” (emphasis added)).

4
 Upon learning that Defendants had recently (since May 18, 2021) transferred the five animals,
the United States requested the immediate return of those animals. To date, Defendants have not
confirmed the return of the animals or indicated the steps they are taking to ensure the prompt
return of the animals. Exh. 7 (June 14-16, 2021 Email exchange).

5
 Defendants have informed the United States that a subset of animals currently in Defendants’
possession are claimed by two other individuals both of whom have had their AWA licenses
terminated or revoked. The United States is not currently in a position to assess the validity of
those individuals’ claims that they have a continued interest in the animals. However, it is the
position of the United States that none of the animals should be returned to those individuals.
Thus, if Defendants indicated that they were willing to surrender those animals, we would
propose that the Court make an equitable finding that all of the animals be transferred to the
United States.
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DATED: June 18, 2021   Respectfully Submitted,

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